661 F.2d 315
    SECURITIES AND EXCHANGE COMMISSION, Appellee,v.Sheldon MOSS, Individually and d/b/a Television Marketing;Correlated Equities Corporation, Appellants,andNational Executive Planners, Inc., Dan King Brainard, RoyHeybrock, William H. Cain, Richard O. White, BarryEugene Weed, Defendants.
    No. 79-1813.
    United States Court of Appeals,Fourth Circuit.
    Sept. 28, 1981.
    ORDER
    
      1
      The appellants' petition for rehearing and suggestion for rehearing en banc has been submitted to the court.  A poll of the court was made, but the poll failed for lack of majority support.
    
    
      2
      The panel considered the petition for rehearing and is of the opinion that it should be denied, 644 F.2d 313 (4th Cir.).
    
    
      3
      It is ADJUDGED and ORDERED that the petition for rehearing and suggestion for rehearing en banc are denied.
    
    
      4
      Entered at the direction of Judge Hall with the concurrence of Judge Ingraham.  Judge Murnaghan and Judge Ervin voted in favor of granting the petition for rehearing and in favor of allowing the motion for rehearing en banc.
    
    